224 F.2d 282
    Ivory CLARK, alias Sonny Clark, Appellant,v.UNITED STATES of America.
    No. 15301.
    United States Court of Appeals Eighth Circuit.
    June 16, 1955.
    
      Appeal from the United States District Court for the Western District of Missouri.
      Charles B. Evins, Chicago, Ill., for appellant.
      Edward L. Schuefler, U. S. Atty., and Paul R. Shy, Asst. U. S. Atty., Kansas City, Mo., for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed for want of diligent prosecution, on motions of appellee and of appellant.
    
    